                          Case 2:22-mb-00076-MHB Document 3 Filed 06/28/22 Page 1 of 2




    Ao   9l   (Rcv.   l2O9)Sc!rcha, Scizu. Wsrt.nt



                                                     UNrrBo Srarps DlsrRrcr Counr
                                                                                       for the
                                                                                Districl of Arizona

                             I11   the Matter ol'the Search          ol                     )
                        (B, le!l)' .lesctibe the
                        or idettif,   lhe
                                                prcpet0' to be searched
                                            peton by nane and acldress)
                                                                                            )
                                                                                            ) C ase No.    .W       o1(!       til)
                  The Person ofSEAN JONES, date                            of               )
                          birth XX-XX-1999                                                  )
                                                                                            )

                                                            SE,ARCH AND SEIZURE WARRANT

    To:           Any authorized law enforcement officer

             An application by a federal law enforcemenl oflicer or an attomey for the govemment requests the search
    of the following person or plopefiy located in the                          District of           A tizona
    (identify lhe     perso otdctc          be lhe propcrly lo   b. seorched ad give ils localion)
     See Attachment                 A, incorporated by reference

                  The person or property to be searched, described above, is believed to conceal (id.ntiIy he Nrson or desctibe                      the

    prorytty to       be set:ed)l
     See Attachment B, incorporated by reletence


                  I find that the affidavit(s), or any recorded testitnony. establish probable cause to search arrd seize the person or
    property

                  YoU ARE CoMMANDED to cxecute this wamant oll or before                                                    Aptil   13 ,   2022
                                                                                                                           (nol to erceed 14 doys)

              d   in the daytime 6:00 a.m. to l0                 p.m.           O   at any tim€ in the day or night as I find reasonable cause has been
                                                                                    estab lished.


             Unless delayed notice is authorized below, you rnust give a copy ofthe wanant and a receipt for the property
    taken to the person irorn whom, or from whose ptemises, the propefiy was taken, ol leave the copy and receipt at the
    place where the property was taken.

            The officer executing this warrant, or an omcer present during the execution ofthe warrant, must prepare an
    inventory as required by law and plomptly retum this warrant and inventory to United States Magistrate Judge
     on duty in the District of Arizona
                                                   (nane)

M   lA       I find that immediate notification may have an adverse result listed in I E U.S.C. $ 2?05 (except lor delay
              "
     ofkial), 8nd authorize the oflicer executing this wanant to delay notice to the person who, ot'whose property, will be
     searched ot seized fcrreck the apprcp ole bot) O for                   (not to crce.d 30),

                                                    O until, the factsjustiffing, the later specific date of

     Datc and tirne issuedl
                                                             j
                                             3j 3l \zqtt e -days                                                     Jfuge s signoh     e



     City and state:                Phoenix Arizona                                                   M ichelle H. Burns L.r.s. 1\4aLilrate.ludge
                                                                                                                   Pfi   ed not E and   ti   e
                    Case 2:22-mb-00076-MHB Document 3 Filed 06/28/22 Page 2 of 2




AO   9t   lRer t2/09) Se.rch a,"l   sei te   tYana'tt (Pase 2)


                                                                           Relu   t

Case No.;                                     Date and lime warrant etecuted            Copy ofu,arrant and invenlory lefl',eilh
          q.|tl-5+15{+                                                                     L(SSA VRtt-
lnvenlory) nn(le in lhe presence                of
                                                                          U^Eg
lnvenlory of       1fis pt'sperD)     taken                      ol   rson(s) seized:




                 Q\o--w-                           See\- \ R\ ar\_- lvw C o'-'-t-




         I declare under penalty o{ perjury thal lhis in\)entoty is con'ecl and was retwned along with the originol
 v'qrrdnt to the designated judge.




 Dale.                0-?           o1)-
                                                                                               Executing   oltcet s siqnah   e




                                                                                                  Prlhled name aqd lille
